Case: 1:19-cv-01711 Document #: 137 Filed: 01/06/25 Page 1 of 1 PageID #:1247

                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                               Eastern Division

U.S. Securities and Exchange Commission
                                               Plaintiff,
v.                                                            Case No.: 1:19−cv−01711
                                                              Honorable Sunil R. Harjani
River North Equity LLC, et al.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 6, 2025:


        MINUTE entry before the Honorable Sunil R. Harjani: Unopposed motion to
allow the SEC to communicate directly with Defendant Foley [136] is granted. Defendant
Foley is proceeding pro se in this matter. As a result, the appearance of Attorney Nishay
Sanan is terminated. Mailed notice(lxs, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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